       Case 8-20-08052-ast                Doc 29   Filed 11/24/21   Entered 11/24/21 14:52:03




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:
                                                                Chapter 11
 ORION HEALTHCORP, INC. et al.,

                               Debtors.                         Case No. 18-71748 (AST)

 HOWARD M. EHRENBERG IN HIS CAPACITY
 AS LIQUIDATING TRUSTEE OF ORION
 HEALTHCORP, INC., ET AL.,
                                                                Adv. Proc. No. 20-08052 (AST)
                             Plaintiff,

 v.

 ABRUZZI INVESTMENTS, LLC; JOHN
 PETROZZA,
               Defendant(s)


                NOTICE OF ADJOURNMENT OF PRETRIAL CONFERENCE

          PLEASE TAKE NOTICE that the Pre-Trial Conference in the above-styled adversary

proceeding has been adjourned to December 15, 2021 at 3:00 p.m. (prevailing Eastern Time)

before the Honorable Alan S. Trust, United States Bankruptcy Judge, in Courtroom 960 of the

United States Bankruptcy Court for the Eastern District of New York, 290 Federal Plaza, Central

Islip, NY 11722.




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Dated: New York, New York
       November 24, 2021
                                           /s/ Jeffrey P. Nolan
                                          Ilan D. Scharf, Esq.
                                          Jeffrey P. Nolan, Esq. (admitted pro hac vice)
                                          PACHULSKI STANG ZIEHL & JONES LLP
                                          780 Third Avenue, 34th Floor
                                          New York, New York 10017
                                          Telephone:       (212) 561-7700
                                          Facsimile:       (212) 561-7777

                                          Counsel for the Plaintiff,
                                          Howard M. Ehrenberg in his capacity as
                                          Liquidating Trustee of Orion Healthcorp, Inc., et al.




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                                 CERTIFICATE OF SERVICE


STATE OF NEW YORK                     )
                                      )       ss.:
COUNTY OF NEW YORK                    )


        I, La Asia S. Canty, am over the age of eighteen years, and am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 780

Third Avenue, 34th Floor, New York, New York 10017-2024.

        On November 24, 2021, I caused a true and correct copy of the following document to be

served via electronic mail and First Class US Mail upon the parties set forth on the service list

annexed hereto as Exhibit 1:

     Notice of Adjournment of Pre-Trial Conference.


                                                         /s/ La Asia S. Canty
                                                          La Asia S. Canty




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                                          EXHIBIT 1

Anthony F. Giuliano, Esq.
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Melville, New York 11747
Email: afg@pryormandelup.com

Counsel to Abruzzi Investments, LLC and John
Petrozza




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